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                        EXHIBIT B
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                                            Dennis Dayman
                                                Rockwall, Texas
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                                                  214-771-0111



                                                     Summary

   I have more than 25 years of security and privacy executive experience in combating spam,
   security/privacy issues, data governance issues, and improving email delivery through industry policy,
   industry relations and technical solutions. I am a longstanding member of several security and data
   governance boards and advisory committees and am actively involved in creating current Internet and
   digital communication regulations, privacy/security policies and anti-spam legislation laws for state and
   federal governments. I’ve also testified numerous times in front of the U.S. Congress, Federal Trade
   Commission, Canadian Radio-television and Telecommunications (CRTC), Royal Canadian Mounted
   Police (RCMP), Canadian and European Parliament on things such as the Electronic Privacy EU Directive
   and General Data Protection Regulation (GDPR) reforms, self-regulatory best practices, Internet crimes
   and anti-spam regulations. I am also a longstanding member of several boards and advisory committees
   within the messaging industry and also sit on several advisory boards for Internet. Appointed by
   Department of Homeland Security (DHS) Secretary Nielsen to the Data Privacy and Integrity Advisory
   Committee (DPIAC) that provides input to DHS on programmatic, policy, operational, administrative and
   technical issues that relate to personal identifiable information, as well as data integrity and other privacy-
   related matters. Also appointed as a U.S. Delegate for the U.S. Technical Advisory Group (TAG) within
   International Organization for Standardization (ISO) and American National Standards Institute (ANSI)
   supporting work on ISO/PC 317: Consumer protection: privacy by design for consumer goods and services.
   I also sit on several advisory boards for Internet companies and is also a partner, mentor, and frequent
   investor in start-ups.

   Work Experience

   Maropost - 01/ 2021 – 03/2022
   Chief Privacy and Security Officer

   Maropost email marketing automation platform converts your prospects into clients through the delivery of
   targeted messages to the right contacts at the right time. Maropost provides industry-leading inbox
   deliverability, advance reporting, sophisticated segmentation, list management, template management, A/B
   testing and email automations.

   Responsibilities

       •    Represents the company’s informational security and privacy interests with external parties (state
            or local government bodies) who undertake to adopt or amend legislation, regulation, or standards.
            Served as information leader to the companies for all departments and appropriate entities.
       •    Liaise with regulatory and accrediting bodies on security and privacy issues.
       •    Work with external affairs to develop relationships with regulators and other government officials
            responsible for privacy and data security issues
       •    Maintaining a comprehensive and current knowledge of both corporate operations, security, and
            privacy laws, as well as communicating details of the company policies to staff and customers
            alike.
       •    Works collaboratively with engineering and product management teams to ensure security and
            privacy by design, and satisfaction of regulatory obligations in new products and product features.
       •    Conduct data policy compliance analysis overlay by relevant jurisdiction.
       •    Provides development guidance and assists in the identification, implementation, and maintenance
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            of the company’s security and privacy policies and procedures in coordination with management,
            the heading the Privacy and Security Working Groups.
       •    Performs initial and periodic information privacy risk assessments and conducts related ongoing
            compliance monitoring activities in coordination with a company’s other compliance, product and
            operational teams
       •    Works with legal counsel and management, key departments, and committees to ensure the
            organization has and maintains appropriate privacy and confidentiality consent, authorization, and
            information notices and materials reflecting current organization and legal practices and
            requirements.
       •    Participates in the development, implementation, and ongoing compliance monitoring of all
            partner and business agreements, to ensure all privacy concerns, requirements, and responsibilities
            are addressed.
       •    Establishes and administers a process for receiving, documenting, investigating and responding to
            complaints and/or allegations of violations of the company’s policies and procedures.
       •    Ensures compliance with privacy practices and consistent application of sanctions for failure to
            comply with privacy policies for all individuals in the organization’s workforce, extended
            workforce, and for all business associates, in cooperation with the HR team, the information
            security officer, administration, and legal counsel as applicable.
       •    Maintains current knowledge of applicable federal and state privacy laws, accreditation standards,
            and best practices and monitors innovations in information privacy technologies to ensure the
            companies adaptation and compliance.
       •    Routinely evaluate security needs and implementing comprehensive monitoring techniques.
       •    Responsible for developing, implementing and managing the organization's corporate security
            vision, strategy, and programs.
       •    Set risk assessment standards and reviewed regular reports assessing risk.
       •    Developed and implemented emergency procedures to deal with security threats.
       •    Ensured that all computer systems and servers were properly protected.
       •    Created, implemented, and supervised physical security for multiple domestic and international
            office locals including data centre’s and cloud providers.
       •    Created, implemented, and supervised global security policies and guidelines.
       •    Investigated possible security breaches and worked to restore any lost data.
       •    Ensured that all security equipment was properly maintained.
       •    Developed risk management assessments.
       •    Monitored incident response planning and corresponded with outside security audit consultants.
       •    Maintained effective relationships with appropriate local, state, federal, and country law
            enforcement and data governance agencies.
       •    Maintained workplace security procedures and policies
       •    Manage day to day any current IP lawsuit(s) against the company.

   Sabbatical - 6/2019 - 12/31/20

   Scheduled to take a year off after last acquisition to travel with spouse. Pandemic impacted that and as such
   I decided to take a bit more time off to spend with her at home.

   Return Path - 04 / 2014 – 6 / 2019 (Acquired by Validity)
   Chief Privacy and Security Officer

   Return Path provides consumer intelligence that keeps brands connected to their audiences. We analyzed
   the world’s largest collection of email data to show senders how to strengthen their customer engagement
   and protect their brands from fraud. Mailbox providers around the world use our technology to build trust
   in email by ensuring that wanted messages reach the inbox while spam and abuse don’t. As Return Path’s
   chief privacy and security officer, I leverage my experience and key relationships to provide best practices
   to Return Path, its customers, and ensures the compliance of their communications data flows. I was also
   responsible for coordinating and managing Return Path’s international electronic commerce, privacy,
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   security, and Internet related policy and technologies.

   Eloqua – 03//2008 - 04/2014 (Acquired by Oracle)
   Chief Privacy and Security Officer

   Eloqua is a marketing automation SaaS company which develops automated marketing and demand
   generation software and services for 1,100 client’s worldwide business-to-business marketers. Eloqua went
   public in August of 2012 and I was on the team that took park in the development of their S1 and processes
   to going public on the NASDAQ. Then on 20 December 2012, Eloqua announced that it signed a definitive
   agreement to be acquired by Oracle Corporation for $871M and is now the centerpiece of Oracle's
   marketing cloud. As Eloqua’s Chief Privacy and Security Officer, I leverage my experience and key
   relationships to provide best practices to Eloqua, its customers, and ensures the compliance of their
   communications data flows. I was also responsible for coordinating and managing Eloqua’s international
   electronic commerce, privacy and Internet related policy issues.

   Education

   Stephen F. Austin State University - 1994 - 1997
       • Bachelor of Science (B.S.) Criminal Justice/Police Science

   Current Federal Appointments
      • Department of Homeland Security (DHS) Data Privacy and Integrity Advisory Committee
          (DPIAC)
      • Chairperson of the Policy sub-committee

   Certifications

       •    IAPP - International Association of Privacy Professionals
               o CIPP/US, CIPT, and CIPP/E
               o Fellow of Information Privacy (FIP)

   Coalitions and Associations

       •    Messaging, Malware and Mobile Anti-Abuse Working Group (M3AAWG)
               o Founding member and Board member emeritus
               o Vice-Chairperson Emeritus
               o Program Chair
               o Public Policy Chair
               o Growth and Development Chair

       •    Email Sender and Provider Coalition (ESPC)
               o Chairperson Emeritus

       •    The Email Experience Council (EEC) - (DMA/ANA)
                o Chairperson Emeritus

       •    Data & Marketing Association (DMA/ANA)
               o Ethics, Policy, and Compliance Board member

       •    Ponemon Institute
                  Ponemon Fellow

       •    Southern Methodist University and Dallas Baptist University
                o Digital Accelerator
                o Big Data Advisory and Security Advisory Boards
